 Case 5:16-cv-00158-FPS Document 20 Filed 02/28/17 Page 1 of 1 PageID #: 36



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


DIANA MEY, individually and on behalf
of a class of all persons and entities
similarly situated,

           Plaintiff,

v.                                             Civil Action No. 5:16CV158
                                                                  (STAMP)
TITAN GAS, LLC,

           Defendant.


                           ORDER OF DISMISSAL

     Pursuant to the stipulation of dismissal filed pursuant to

Federal Rule of Civil Procedure 41 on February 28, 2017, it is

ORDERED   that   this   civil   action   be,   and   the   same    is   hereby,

DISMISSED and STRICKEN from the docket of the Court.              Accordingly,

any pending motions are DENIED AS MOOT.

     IT IS SO ORDERED.

     The Clerk is hereby directed to transmit copies of this Order

to counsel of record herein.

     DATED: February 28, 2017



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE
